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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                                  )
 JANE DOE,                                        )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )          Case No. 1:18-cv-614 (LOG/MSN)
                                                  )
 FAIRFAX COUNTY SCHOOL BOARD,                     )
                                                  )
         Defendant.                               )
                                                  )

                            PLAINTIFF JANE DOE’S WITNESS LIST

         Pursuant to Fed. R. Civ. P. 26(a)(3) and this Court’s Scheduling Order, Plaintiff provides

 as follows her witness list for the trial of this matter.

         1.      Plaintiff Jane Doe

         2.      Jane Roe

         3.      John Doe

         4.      John Banbury

         5.      Wally Baranyk

         6.      Sara Boyd, Ph.D.

         7.      Mary “Molly” Brady

         8.      Alyson Calvello

         9.      Karoline Davis

         10.     Darrell Estess

         11.     Kathryn Harlow, LPC

         12.     Jennifer Hogan
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         13.    Emily Jorgensen

         14.    Kristen Jorgensen

         15.    Aveesh Kachroo

         16.    Laura Kelly

         17.    Meredith Kerley, LCSW

         18.    Marisa London

         19.    Brianna Murphy

         20.    Kathleen Sefchick

         21.    Jack Smith

         22.    Victoria Staub

         23.    Michelle Taylor

         24.    Jamie VanValkenburg

         25.    Fairfax County School Board Rule 30(b)(6) witness Jamie Lane

         26.    Fairfax County School Board Rule 30(b)(6) witness Mary Ann Panarelli

         Plaintiff reserves the right to call witnesses for the purposes of impeachment and/or

 rebuttal.

         Plaintiff reserves the right to call custodians of records as may be necessary.

         Plaintiff reserves the right to call any witness that would cause no surprise or prejudice to

 the opposing side and that may have been inadvertently left off of this list.

         Plaintiff reserves the right to amend and/or supplement this Witness List to include any

 subsequent discovery witness identified in discovery or by the Defendant after submission of this

 pleading.




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 Date: April 24, 2019               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 24, 2019 I filed the foregoing using the CM/ECF system,
 which will send electronic notice of this filing, Plaintiff Jane Doe’s Witness List, to Defendant’s
 counsel of record:

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